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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

       RICHARD FELTZ, on behalf of himself
       and all others similarly situated,

                 Plaintiff,
       v.                                         Case No.: 18-cv-298-CVE-JFJ

       TULSA COUNTY, et al.,

                 Defendants.

                       NON-PARTY JARI ASKINS’ MOTION TO STAY
                          PLAINTIFF’S MOTION TO COMPEL

            The Administrative Director of the Courts, Jari Askins, (“Askins”), on behalf

   of the Administrative Office of the Courts (“AOC”), (collectively “AOC”), by and

   through counsel, Assistant Attorney General Jeb Joseph, hereby presents its Motion

   to Stay Plaintiff’s “Motion to Compel Compliance with a Subpoena” [Doc. 210]

   (hereinafter “Motion”). The subpoena in question (“Subpoena”) 1 issued by Plaintiff,

   Richard Feltz, to nonparty Askins, seeks materials belonging to Askins’ employer,

   nonparty AOC, located within the boundaries of the United States District Court for

   the Western District of Oklahoma. In support, AOC offers the following:

            1.      AOC offices in Oklahoma City, OK. The requested materials, and the

   affected personnel, are located in Oklahoma City, OK.

            2.      AOC is a nonparty to this litigation.

            3.      AOC is immune to suit in federal court, unless AOC has consented to

   suit, or Congress has abrogated AOC’s immunity. Neither consent nor abrogation are

   present, here.


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       See Subpoena [Doc. 210-1].
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         4.     Plaintiff, Feltz, issued a subpoena duces tecum to AOC, demanding

   materials in Oklahoma City be mailed or otherwise delivered to his counsel in Tulsa,

   OK.

         5.     Counsel for Plaintiff and counsel for AOC conferred via telephone and

   electronic mail multiple times about objections to the subpoena, but were unable to

   come to an accord.

         6.     On November 23, 2020, AOC filed a Motion to Quash Plaintiff’s

   subpoena in the United States District Court for the Western District of Oklahoma,

   Case No. 20-MC-12-SLP, (OKWD Case) and notified Plaintiff’s counsel of the same

   on that date. A copy of the motion was served upon Plaintiff’s counsel via U.S. Postal

   Service and electronic mail the same day.

         7.     On November 25, 2020, the day before the Thanksgiving holiday,

   Plaintiff filed his “Motion to Compel” [Doc. 210] herein, with this Court.

         8.     On December 1, 2020, a hardcopy of the Plaintiff’s motion was properly

   served via FedEx upon the office of counsel for the AOC.

         9.     On December 8 and 9, 2020, counsel for Plaintiff filed their entries of

   appearance in the OKWD Case.

         10.    On December 9, 2020, Plaintiff filed what amounted to a response 2 brief

   to AOC’s Motion to Quash in the OKWD Case, presenting counterarguments to AOC’s

   Motion to Quash, and also asking for “dismissal” or “transfer” of the matter by the

   Western District Court.


   2 Plaintiff’s “Motion to Dismiss or Transfer Motion to Quash” [OKWD Case Doc. 5],
   and Plaintiff’s fourteen-page “Brief in Support of His Motion to Dismiss or Transfer
   Non-Party Jari Askin’s Motion to Quash and In Opposition to the Motion to Quash,”
   [OKWD Case Doc. 6].
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         11.   On December 10, 2020, Defendants “State Judges” herein filed a

   response in support of AOC’s Motion to Quash in the OKWD Case.

         12.   Pursuant to OKWD Local Rule 7.1(i), AOC’s reply brief in support of its

   Motion to Quash is due on Wednesday, December 16, 2020.

         13.   Pursuant to this District’s Local Rule 7.2(e), AOC’s response to

   Plaintiff’s Motion to Compel Compliance herein is also due on Wednesday, December

   16, 2020.

         WHEREFORE, given the timing of the respective motions, the completion of

   briefing in the OKWD case, the consideration of AOC’s sovereign immunity, and the

   potential for conflicting rulings in two different courts on at least two different

   motions, AOC respectfully requests this Court hold in abeyance and stay further

   briefing and proceedings regarding Plaintiff’s Motion to Compel Compliance [Doc.

   210] herein, until the final resolution of OKWD Case No. 20-MC-12-SLP. In the event

   the OKWD case is dismissed, or is transferred to this Court, AOC respectfully

   requests leave to file its response brief to Plaintiff’s Motion to Compel Compliance

   herein, seven (7) days after the OKWD Case concludes.

                                         Respectfully submitted,

                                         /s/ Jeb Joseph
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                             CERTIFICATE OF SERVICE

          I hereby certify that on this 11th day of December 2020, a true and correct copy
   of the foregoing document was served via the Court’s ECF system to all registered
   counsel for the litigants herein.


                                           /s/ Jeb Joseph
                                           Jeb Joseph




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